Case 1:25-cv-00415-ACR Document 46-1 Filed 04/14/25 Page1of4

IN THE UNITED STATES
FOR THE DISTRICT OF COLUMBIA

ROBERT P. STORCH, et al.,

|
|
Plaintiffs, |
| Civil Action No. 1:25-cv-415
v.
Judge Ana C. Reyes
PETE HEGSETH,, in his official capacity
as Secretary of Defense, et. a., |
Defendants. |

UNOPPOSED MOTION OF KWAME GYAMFI FOR LEAVE TO FILE AMICUS
CURIAE BRIEF IN SUPPORT OF DEFENDANTS

Kwame Gyamfi, pursuant to Local Rule 7(0), respectfully requests leave of this Court to
file an amicus curiae brief in support of Defendants’ opposition to Plaintiffs’ motion for a

preliminary injunction. Plaintiffs do not oppose this request, and Defendants consent to the filing.
As grounds for this Motion, the Amici state as follows:

1. Amici curiae is a senior software engineer with over 20 years of experience supporting
legacy financial systems for various federal agencies, including NASA, the GSA Office
of Inspector General, the Department of State, the Department of the Interior, the
Department of Labor, and the Department of Defense. As an engineer supporting various
federal agencies, Amici possesses unique insight and perspective that this Honorable
Court should consider in its decision regarding the motion for a preliminary injunction.

2. Upon review of the Securing Inspector General Independence Act of 2022 (SIGIA),
specifically concerning the “substantive rationale” requirement for case-by-case review,

Amici believes that this provision imposes an onerous burden on defendants. Compliance
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with this provision is potentially impossible without acceés to Inspector General (IG) case
management systems or the testimony of active or former IG employees who have come
forward as whistleblowers. Furthermore, this legal requirement presumes that IG case files
are declassified and publicly accessible, which may conflict with privacy rights.
3. “An amicus brief should normally be allowed ... when the amicus has unique information
or perspective that can help the court beyond the help that the lawyers for the parties are
- able to provide.” Jin v. Ministry of State Sec., 557 F. Supp. 2d 131, 137 (D.D.C. 2008). An
amicus brief from the perspective of former employees and engineers who manage federal
government resources is uniquely qualified to address specific case-by-case reviews based
on real-world experience.
4. Amici, Kwame Gyamfi, requests leave to file an amicus curiae brief in support of
Defendants’ opposition to Plaintiffs’ motion for a preliminary injunction. A proposed brief

is attached, as is a proposed order granting this motion.

Respectfully submitted, Dated: March 26, 2025

Of-— GE

Kwame Gyamfi

P.O. Box 1613

Bowie, MD 20717
kwamegyamfi@me.com
(301)541-7337
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V. |
| Judge Ana C. Reyes
PETE HEGSETH, in his official capacity |
as Secretary of Defense, et. a., |
|

Defendants.

PROPOSED ORDER
This matter came before the Court on KWAME GYAMFI’s Motion for Leave to File an Amicus

Curiae Brief in Support of Defendants. The Court, having reviewed the motion, hereby:

ORDERS ‘that the KWAME GYAMEFI’s Motion for Leave to File an Amicus Curiae Brief is hereby

GRANTED.

Respectfully submitted, Dated: March 26, 2025

Kwame Gyamfi

P.O. Box 1613

Bowie, MD 20717
kwamegyamfi@me.com

(301)541-7337
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Vv.

PETE HEGSETH, in his official capacity
as Secretary of Defense, et. a.,

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|
|
|
| Judge Ana C. Reyes
|
|
Defendants. |

CERTIFICATE OF SERVICE
I certify that on April 14, 2025, I filed this document with the Cler of the Court. This Court’s

CM/ECF system, will send a notice of docketing activity to all parties registered through the

CM/ECF system.

Respectfully submitted, Dated: April 14, 2025

OB. f-— GFE

Kwame Gyamfi

P.O. Box 1613

Bowie, MD 20717
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(301)541-7337
